              Case 2:20-cv-00010-TSZ Document 37 Filed 10/13/21 Page 1 of 3




 1

 2

 3

 4

 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
          JEANNETTE RAMOS,
 8                              Plaintiff,
                                                         C20-10 TSZ
 9             v.
                                                         MINUTE ORDER
10        DELTA AIR LINES INC.,
11                              Defendant.

12
        The following Minute Order is made by direction of the Court, the Honorable
13 Thomas S. Zilly, United States District Judge:
            (1)  The Parties’ stipulated motion to continue trial and related dates, docket no.
14
     35, is GRANTED.
15          (2)  Having granted the Parties’ stipulation, docket no. 35, the Court issues the
     following amended schedule:
16
              JURY TRIAL set for 9:00 AM on                           May 23, 2022
17
              Discovery (limited to discovery regarding issues        February 3, 2022
18            related to the cabin sidewall installation and
              maintenance) completed by
19
              Dispositive Motions due by                              March 3, 2022
20            and noted on the motions calendar no later
              than the fourth Friday thereafter (see LCR 7(d))
21
              Motions related to expert witnesses                     March 10, 2022
              (e.g., Daubert motion) due by
22

23

     MINUTE ORDER - 1
                Case 2:20-cv-00010-TSZ Document 37 Filed 10/13/21 Page 2 of 3




 1              and noted on the motions calendar no later
                than the third Friday thereafter (see LCR 7(d))
 2
                Motions in Limine due by                                   April 21, 2022
 3              and noted on the motions calendar no later
                than the Friday before the Pretrial Conference
 4              (see LCR 7(d)(4))

 5              Pretrial Order due1 by                                     May 6, 2022

                Trial Briefs to be submitted by                            May 6, 2022
 6
                Proposed Voir Dire/Jury Instructions due by                May 6, 2022
 7
                Pretrial Conference set for 10:00 AM on                    May 13, 2022
 8
          Notwithstanding Local Civil Rule 16.1, the exhibit list shall be prepared in table
 9 format with the following columns: “Exhibit Number,” “Description,” “Admissibility
   Stipulated,” “Authenticity Stipulated/Admissibility Disputed,” “Authenticity Disputed,”
10 and “Admitted.” The latter column is for the Clerk’s convenience and shall remain
   blank, but the parties shall indicate the status of an exhibit’s authenticity and
11 admissibility by placing an “X” in the appropriate column. Duplicate documents shall
   not be listed twice: once a party has identified an exhibit in the pretrial order, any party
12 may use it.

13           The original and one copy of the trial exhibits are to be delivered to the courtroom
     at a time coordinated with Gail Glass, who can be reached at 206-370-8522, no later than
14   the Friday before trial. Each set of exhibits shall be submitted in a three-ring binder with
     appropriately numbered tabs. Each exhibit shall be clearly marked. Plaintiff’s exhibits
15   shall be numbered consecutively beginning with 1; defendant’s exhibits shall be
     numbered consecutively beginning with the next multiple of 100 after plaintiff’s last
16   exhibit; any other party’s exhibits shall be numbered consecutively beginning with the
     next multiple of 100 after defendant’s last exhibit. For example, if plaintiff’s last exhibit
17   is numbered 159, then defendant’s exhibits shall begin with the number 200; if
     defendant’s last exhibit number is 321, then any other party’s exhibits shall begin with
18   the number 400.

19

20

21          1
             For further details concerning the Pretrial Order and the exhibit list contained therein,
   refer to the Minute Order Setting Trial and Related Dates entered on March 19, 2020, docket no.
22 9.

23

     MINUTE ORDER - 2
              Case 2:20-cv-00010-TSZ Document 37 Filed 10/13/21 Page 3 of 3




 1         All other terms and conditions, and all dates and deadlines not inconsistent
   herewith, contained in the Minute Order Setting Trial Date and Related Dates, docket
 2 no. 9, shall remain in full force and effect.

 3          (3)   The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
 4
            Dated this 13th day of October, 2021.
 5
                                                     Ravi Subramanian
 6                                                   Clerk
 7                                                   s/Gail Glass
                                                     Deputy Clerk
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

     MINUTE ORDER - 3
